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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

                                 )
POLICY AND RESEARCH, LLC, et al. )
                                 )
         Plaintiffs,             )
                                 )
         v.                      )               No. 1:18-cv-346 (KBJ)
                                 )
DEPARTMENT OF HEALTH AND         )
HUMAN SERVICES, et al.           )
                                 )
         Defendants.             )
                                 )

                                         ORDER

       Consistent with the Court’s oral ruling today, it is hereby

       ORDERED that [6] Plaintiffs’ motion for summary judgment is GRANTED,

and that [13] Defendants’ cross motion to dismiss or for summary judgment is

DENIED. It is

       FURTHER ORDERED that HHS’s decision to shorten the project period for

Plaintiffs’ projects is VACATED and that HHS shall accept and process Plaintiffs’

applications as if it had not terminated the Plaintiffs’ federal awards.

       The effective date of this Order is stayed until April 26, 2018, after which it will

become a final appealable Order without further action from this Court.

DATE: April 19, 2018                      Ketanji Brown Jackson
                                          KETANJI BROWN JACKSON
                                          United States District Judge
